Case 1:05-cr-10051-.]DT Document 6 Filed 08/12/05 Page 1 of 2 Page|D 7

 
  

UNITED STATES DISTR]CT COURT f ago Bl,._`__`_` DC
WESTERN DISTRICT OF TENNESSEE U,_ ' '
Eastern I}ivision 3 AUC 12 pH 2: 39
UNITED STATES OF AMERICA ‘ ' !._»_:QULD
l iwi",? - , sir l:l:';'j.DF
~VS' Case No. `l`iO'ScrlOllS'B'-ZQIT

GLENN KEITH SNEAD

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-Styled ease, and is otherwise qualified for appointment ofcounsel. Aecordingly,
the Court makes the following appointment pursuant to the Criminal .Iustice Act (] 8 U.S.C. § 3006A):

APPOINTMENT OF C()UNSEL
~ "I`he Federal Publio Defender is appointed as counsel for the Defendant.
TYPE ()F APPOINTMENT
- All purposes including trial and appeal

DONE and ORDERED in 1 11 South Highland, Jaokson, this /o? ii day ofAugust,

<s_/TEM ip

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

2005.

 

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
GLENN KEITH SNEAD

Tnis document entered on the docket eat ln compliance
with nme 55 and/or 32(1>) Fnch on § z 15 l § §-

lsTRIC CoUR -WESRNTE D"'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CR-10051 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jael<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

